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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

  ULTRAVISION TECHNOLOGIES, LLC,

        Plaintiff,                              Case No. 2:19-cv-00291-JRG-RSP
                                                LEAD CASE
                     v.

  HOLOPHANE EUROPE LIMITED,
  ACUITY BRANDS LIGHTING DE
  MEXICO S DE RL DE CV,
  HOLOPHANE, S.A. DE C.V. and
  ARIZONA (TIANJIN) ELECTRONICS
  PRODUCTS TRADE CO. LTD.,

        Defendants.

  YAHAM OPTOELECTRONICS CO., LTD.,              Case No. 2:19-cv-00398-JRG-RSP
       Defendant.                               MEMBER CASE


                             DEFENDANTS’ AMENDED OBJECTIONS
                          TO CLAIM CONSTRUCTION ORDER (DKT. 111)
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            Defendants object to the Magistrate Judge Payne’s Claim Construction Order filed October

  26, 2020 (Dkt. No. 111; “Order”), regarding the (1) area terms, and (2) uniformity terms.

  I.        DISPUTED TERMS

            A.      “area” / “rectangular area” / “rectangular region”

            As Ultravision’s counsel stated at the Markman hearing: “I acknowledge and recognize

  that the specification only addresses and has embodiments related to billboards or signs.”

  Reporter's Transcript of Claim Construction Hearing Conducted Via Video Conferencing

  (“Markman Tr.”) at 50:14-16. This is not in dispute. Yet, there is a dispute as to whether the

  claimed “area” or “region” to be illuminated are those of a sign (such as the billboards described

  in the patents), or any surface, such as parking lots, streets and sidewalks (which are the

  applications for which all but one accused product is used).

            The Patents-in-Suit are unquestionably limited to LED lighting for signs, as Ultravision

  conceded at the Markman hearing.1 Ultravision’s counsel’s statement is aligned with the written

  description of the Patents-in-Suit, which focuses exclusively on billboard and externally

  illuminated signs. See, e.g., ’946 Patent at passim (directly or indirectly referring to billboard

  lighting in every figure; referring to billboard lighting throughout the specification). Nowhere do

  the patents suggest that they are applicable to any “area” besides the area of a sign or billboard. In

  fact, the only references to illuminated areas in the patent are to the “surface 102” of a billboard.

            Because the limited disclosure of the intrinsic record is beyond dispute, it is not surprising

  that at the Markman hearing, the Court explained:

            the specification . . . talks about [the field] being . . . externally illuminated signs
            and then in . . . every other section initially and particularly in the first paragraph
            of the detailed description where it explains the breadth of the specification as not

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       Ultravision made similar concessions in Ultravision Technologies, LLC v. Lamar Advertising
      Co., et al., C.A. No. 2:16-cv-374 (E.D. Tex.), Lamar Op. Br. at 1-2 (arguing that patents in the
      same family that claimed an identical “area” term, were only related to billboards).
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          limited to billboards but intended to apply to any type of sign. It's -- it is difficult
          for me to read these – these terms, the ones that are at issue here, as not relating to
          signs in view of that.

  Markman Tr. at 49:9-18. A POSITA would understand the scope of the area and region to be

  illuminated, just as the Court described at the Markman hearing. The inventor’s intent would be

  clear to a POSITA, based on the applicant’s own statement in the specification: “Although

  billboards are used herein for purposes of example, it is understood that the present disclosure may

  be applied to lighting for any type of sign that is externally illuminated.” ’946 Patent at 3:17-20.

  In other words, although the specification only encompasses a billboard embodiment, the

  invention, as claimed, may be applied to other externally illuminated signs. There certainly is

  nothing in the specification that even suggests to a POSITA that the invention is intended to apply

  to an LED lighting assembly used to illuminate any surface such as a parking lot or road, as

  Ultravision contends is encompassed by the “plain an ordinary meaning” of area.

          That same inventor intent and exact claim scope is captured by Defendants’ proposed

  construction of the area terms, i.e., sign and rectangular sign. Defendants did not propose a

  construction that is limited to the single billboard embodiment of the specification, i.e., a billboard,

  as Ultravision argued in its briefing and at the Markman hearing. See, e.g., Dkt. 99 at 9; Markman

  Tr. at 51:10-19. Defendants’ construction is commensurate with the applicant’s statement as to the

  full scope of its invention – an LED lighting assembly for lighting an externally illuminated sign.

          Moreover, the Federal Circuit’s opinion in Cont’l Circuits LLC v. Intel Corp., 915 F.3d

  788 (Fed. Cir. 2019), cert. denied, 140 S. Ct. 648 (2019) does not require a different result. In

  Continental Circuits, which Ultravision argued was the best precedent for its position (Markman

  Tr. at 51:10-11), the Federal Circuit identified and addressed a very different issue -- whether the

  terms “surface,” “removal,” and “etching” should be construed to read into the claim a limitation

  that they be “produced by a repeated desmear process.” Id. at 794. The Federal Circuit considered


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  whether there was a disclaimer that permitted the limitation to be read into the claims. Id. at 787.

  As the Federal Circuit explained, “[w]e acknowledge the difficulty in drawing the ‘fine line

  between construing the claims in light of the specification and improperly importing a limitation

  from the specification into the claims.’” Id. at 797. Unlike in Continental Circuits, where the

  specification used exemplary language and was clear to avoid explaining the scope of the invention

  according to a particular embodiment (id.), the Patents-in-Suit unmistakably and universally

  describe an invention for illuminating billboards.

         In contrast to Continental Circuits, the Federal Circuit’s opinion in Wis. Alumni Research

  Found. v. Apple Inc., 905 F.3d 1341 (Fed. Cir. 2018), cert. denied, 140 S. Ct. 44 (2019), addresses

  facts that are more aligned with the facts of the present case. In WARF, the claim term at issue

  was “prediction” and the dispute was whether the term referenced just dynamic predictions or

  dynamic and static predictions. Id. at 1350-51. The district court gave the term its narrower

  construction and that construction was upheld by the Federal Circuit. Id. at 1351. The Federal

  Circuit found that “[w]here, as here, ‘a patent repeatedly and consistently characterize a claim term

  in a particular way, it is proper to construe the claim term in accordance with that characterization.”

  Id. at 1351. The Federal Circuit then explained, “[i]n sum, rather than improperly reading a

  limitation from the preferred embodiment into the claims, the district court’s construction, with

  which we agree, properly reads the claim term in the context of the entire patent.” The same

  analysis applies here. The Patents-in-Suit repeatedly and consistently characterize the area to be

  illuminated as the surface of a billboard, or more broadly, an externally illuminated sign.

         Moreover, even if a term is to be given its plain and ordinary meaning as the Magistrate

  Judge proposes here, that plain and ordinary meaning is what would be understood by a POSITA

  in the context of the specification and prosecution history. Trustees of Columbia Univ. in City of




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  N.Y. v. Symantec Corp., 811 F.3d 1359, 1363-66 (Fed. Cir. 2016). Defendants contend that a

  POSITA would understand the area terms, as viewed through the lens of the intrinsic record, to

  refer to a sign with its defined boundaries. To the extent the Court’s construction is intended to

  encompass something broader through its plain and ordinary meaning construction, the Court’s

  construction is unclear or fails to resolve a claim construction dispute that is should resolve

  according to O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351 (Fed. Cir. 2008).

           B.      Uniformity Terms

           The uniform terms are terms of degree. Order at 18. Although terms of degree are not per

  se indefinite, the specification of the ’410 Patent offers no “objective boundaries” yielding “some

  standard for measuring the scope of the phrase,” such that a skilled artisan cannot determine when

  infringement occurs. Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1370-71 (Fed. Cir.

  2014); see also Geodynamics, Inc. v. Dynaenergetics US, Inc., No. 2:15-CV-1546-RSP, 2016 WL

  6217181, at *15 (E.D. Tex. Oct. 25, 2016) (finding “substantially equal to the total depth of

  penetration/(the tunnel)” indefinite because specification disclosed only depths that are “equal” ).

           Respectfully, the Court’s construction only perpetuates the problem. The Court relies on

  the following language “so that each LED illuminates substantially the entire surface with a

  substantially equal level of illumination per LED,” and “minimiz[es] any noticeable unevenness

  in the overall illumination, even if one of the remaining LEDs 416 malfunctions.” Order at 19.

  However, the “noticeable unevenness” construction merely substitutes one subjective term for

  another. Id. at 20-21.2 The language is aspirational with no objective boundaries.



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      The Court construes “substantially equal level of illumination” to mean “level of illumination
      that does not create noticeable unevenness in the overall illumination, such as hot spots or dead
      spots.” Order at 20. The Court construes “is substantially uniform,” “remains substantially
      unchanged,” and “remains substantially the same” to mean “does not create noticeable
      unevenness in the overall illumination, such as hot spots or dead spots.” Id. at 21


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         In context, the ‘410 Patent discloses that “[i]f [the illumination provided by the remaining

  LEDs directed to one or more portions of the surface is] done properly, this may be accomplished

  while minimizing any noticeable unevenness in the overall illumination, even if one of the

  remaining LEDs 416 malfunctions.” ‘410 Patent at 6:18-23 (emphasis added). A POSITA would

  understand that “noticeable unevenness” is also subjective and does not provide any “objective

  boundary” as to what another subjective term “substantially equal level of illumination” is. See

  Interval Licensing, 766 F.3d at 1371.

         Additionally, the Court points to the phrase “[t]he minimum distance is designed such that

  overlapping light from adjacent LEDs does not create interference patterns and result in dead spots

  on the surface” to show what is not uniform, e.g., “hot spots” and “dead spots.” Order at 18-19.

  This paragraph in the ’410 Patent is equally problematic because the ’410 Patent does not disclose

  what “minimum distance” means. Simply put, the ’410 Patent lacks objective boundaries.

         The facts and rationale by the Interval Licensing court is directly on point. At issue was

  whether the term “unobtrusive manner” was indefinite. Interval, at 1371-74. Like the ’410 Patent,

  the patentee’s description in the specification was equally subjective, explaining that displaying

  content in an unobtrusive manner meant that it “does not distract a user of the apparatus from a

  primary interaction with the apparatus.” Id. at 1372. The Interval Licensing court properly held

  that such language fails to provide any clarity or objective boundary to the subjective claim

  language.   Id.    Similar to the “unobtrusive manner” term in Interval Licensing, what is

  “noticeable” is highly subjective and provides little guidance to a POSITA. Interval, at 1371. The

  Court’s reasoning that “substantially uniform” provides a standard based on what can be seen by

  the normal human eye neglects the subjective nature of what is observed by a normal human eye.

  The Court’s construction thus reflects the subjective and indefinite nature of the uniformity terms.




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  Dated: November 13, 2020              Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that, on November 13, 2020, a true-and-correct copy of

  the foregoing document was served via the Court’s CM/ECF system on all counsel of record.


                                                    /s/ Melissa R. Smith




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